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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                          :
                                                  :
       v.                                         : CRIMINAL NO. CCB-14-0412
                                                  :
MICHAEL RESNICK, ET AL.                           :
                                              ...o0o...

                                MEMORANDUM and ORDER

       A motion to compel full compliance with Rule 17(c) subpoena (ECF NO. 182) has been

filed by counsel for defendant William Crittenden and fully briefed. A conference call was held

today with Steve Allen, counsel for Henry Schwartz, Esquire, and government and defense

counsel. Mr. Schwartz has asserted attorney-client and work-product protection on behalf of his

clients Alina Margulis and Michael Resnick. Counsel for Ms. Margulis and Mr. Resnick have

been made aware of this motion, at least by virtue of its filing on CM/ECF. They have taken no

position on the record.

       It appears to the court that the documents, even those dated after Mr. Crittenden’s

departure from Healthy Life, may well be relevant to testimony to be presented in this criminal

conspiracy case generally and to Mr. Crittenden’s defense. It also appears, in light of the facts

admitted to in the plea agreements entered by Ms. Margulis and Mr. Resnick, that the crime-

fraud exception has been satisfied. Chaudhry v. Gallerizzo, 174 F.3d 394, 403 (4th Cir. 1999).

       Accordingly, unless any additional objection is filed by noon on Tuesday, January 12,

2016, Mr. Allen is directed to produce the withheld documents to counsel for Mr. Crittenden on

Wednesday, January 13, 2016. Counsel will promptly advise the government if he plans to

offer any of those documents in the defense case.
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      A copy of this Order is being sent to all counsel, including counsel for Ms. Margulis and

Mr. Resnick, by CM/ECF.

      SO ORDERED this 8th day of January, 2016.




                                                                          /S/
                                                   Catherine C. Blake
                                                   United States District Judge
